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          1     RACHEL S. BRASS, SBN 219301
                  rbrass@gibsondunn.com
          2     GIBSON, DUNN & CRUTCHER LLP
                555 Mission Street, Suite 3000
          3     San Francisco, California 94105-0921
                Telephone: 415.393.8200
          4     Facsimile: 415.393.8306
          5     ROBERT C. WALTERS, pro hac vice
                  rwalters@gibsondunn.com
          6     GIBSON, DUNN & CRUTCHER LLP
                2001 Ross Avenue, Suite 2100
          7     Dallas, Texas 75201-2911
                Telephone: 214.698.3100
          8     Facsimile: 650.801.5100
          9

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         11
                Attorneys for Plaintiff LIV Golf, Inc.
         12
                                            IN THE UNITED STATES DISTRICT COURT
         13                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                      SAN JOSE DIVISION
         14
                MATT JONES, BRYSON DECHAMBEAU,                        CASE NO. CASE NO. 5:22-cv-04486-BLF
         15     PETER UIHLEIN, and LIV GOLF INC.,
                                                                      DECLARATION OF JOHN
         16                                      Plaintiffs,          LOFFHAGEN IN SUPPORT OF
                                                                      SEALING PORTIONS OF JOINT
         17             v.                                            STATEMENT REGARDING REQUEST
                                                                      FOR CASE MANAGEMENT
         18     PGA TOUR, INC.,                                       CONFERENCE
         19                                      Defendant and
                                                 Counter-Plaintiff,
         20
                        v.
         21
                LIV GOLF INC.,
         22
                                     Counter-Defendant.
         23

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                                          LOFFHAGEN DECLARATION IN SUPPORT OF SEALING
                                                   CASE NO. 5:22-CV-04486-BLF
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          1             I, John Loffhagen, hereby declare and state:
          2             1.       I am the Chief Legal Officer of LIV Golf. I am authorized by LIV to make this statement
          3     in support of sealing portions of the joint request for a case management conference. Dkt. No. 254. I
          4     make the statements in this declaration based on personal knowledge, personal experience, and
          5     personal participation in communications with business associates. If called and sworn as a witness, I
          6     could and would testify to the facts stated in this declaration.
          7             2.       Lines 6:10-17 of the Joint Statement Regarding Request for Case Management
          8     Conference quote and describe the contents of a Shareholder Agreement that sets out LIV’s investor
          9     rights and corporate governance. Dkt. 255. As I previously explained in connection with the quoted
         10     materials (Dkt. No. 222-1), the contents of the Shareholder Agreement are highly confidential and
         11     significant harm to LIV would result from their disclosure.         Disclosure of the contents of the
         12     Shareholder Agreement would harm LIV, inter alia, by prejudicing LIV’s ability to obtain outside
         13     funding. The current investment structure gives certain investors rights that may deter outside funders
         14     or change the terms that those funders demand. If those funders decide to invest, they may demand
         15     changes to LIV’s investor rights or demand equivalent rights as those disclosed. Outside business
         16     partners may also be influenced. For example, if LIV decides to enter a franchise model, potential
         17     franchisees may change the terms they require in light of the investor rights disclosed.
         18             3.       Lines 6:18-19 of the Joint Statement Regarding Request for Case Management
         19     Conference describe LIV investors’ high level involvement in LIV operations and internal decision-
         20     making. Dkt. 255. As I previously explained in connection with the cited materials (Dkt. No. 260-1),
         21     disclosure of this information would harm LIV. Competitors may exploit this information, for
         22     example, by seeking to influence LIV’s investors. Disclosure would also harm LIV by (incorrectly)
         23     suggesting that LIV lacks authority to negotiate certain matters. Potential business partners may be
         24     deterred from entering into negotiations with LIV if they believe that LIV requires investor consent to
         25     make decisions on certain issues. As with the Shareholder Agreement, disclosure may also deter
         26     outside funders if they believe that LIV’s present investors have a more active role in its operations.
         27             4.       The following table summarizes that harm that could result from disclosure:
         28
                                                                   2
                                          LOFFHAGEN DECLARATION IN SUPPORT OF SEALING
                                                   CASE NO. 5:22-CV-04486-BLF
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                         Document                                        Reason(s) for Sealing
          3
                  Joint Request for a Case       Contains confidential information about LIV’s Shareholder
          4       Management Conference          Agreement setting out its relationship with its investors, including
                        Dkt. No. 255             investor rights, disclosure of which would prejudice LIV’s ability to
          5           at lines 6:10-17           obtain outside funding, pursue a franchise model in the future, and
                                                 obtain future business.
          6

          7       Joint Request for a Case       Contains confidential information participation of LIV’s investors in
                  Management Conference          LIV’s internal decision-making, disclosure of which would harm LIV
          8             Dkt. No. 255             by allowing competitors to exploit the information, deterring potential
                      at lines 6:18-19           business partners, and reducing opportunities for outside funding.
          9

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         11             I declare under penalty of perjury under the laws of the United States of America that the

         12     foregoing is true and correct.

         13

         14                         ______________,
                        Executed on 10 February 2023 2023.

         15                                                              ________________________
         16                                                             John Loffhagen
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                                          LOFFHAGEN DECLARATION IN SUPPORT OF SEALING
                                                   CASE NO. 5:22-CV-04486-BLF
